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                    IN THE UNITED STATES DISTRICT COURT
                           Southern District of Indiana
                              Indianapolis Division


 CHRISTOPHER McCALLEY and                       )
 MARILYN McCALLEY, Individually and as          )
 Parents of PATRICK McCALLEY, Deceased,         )
                                                ) Case No. 1:18-cv-3368-RLY-MPB
                    Plaintiffs,                 )
                                                )
       v.                                       )
                                                )
 CARMEL CLAY SCHOOL CORPORATION,                )
 doing business through the Board of School     )
 Trustees of the Carmel Clay Schools,           )
 CARMEL HIGH SCHOOL,                            )
 CITY OF CARMEL,                                )
 TOBY STEELE,                                   )
 NICHOLAS WAHL, and                             )
 CARMEL POLICE OFFICER PHIL HOBSON,             )
                                                )
                    Defendants.                 )


    ANSWER, AFFIRMATIVE DEFENSES AND REQUEST FOR JURY TRIAL
          ON BEHALF OF DEFENDANTS CITY OF CARMEL AND
               CARMEL POLICE OFFICER PHIL HOBSON

       Defendants, City of Carmel and Carmel Police Officer Phil Hobson, by

 counsel, for their Answer to Plaintiffs’ Complaint and Jury Demand, allege and say:

       1.    Defendants admit that, as pled, this is an action brought by Plaintiffs

 seeking to assert claims pursuant to the Indiana Wrongful Death Act, Ind. Code §

 34-23-2-1, the Indiana Tort Claims Act, Ind. Code § 34-13-3, and 42 U.S. C. §

 1983, and under federal and state common law. Defendants deny that there is

 any basis for any such legal claims and deny all other allegations contained within

 paragraph one (1) of Plaintiffs’ Complaint.
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       2.     Defendants admit the material allegations contained in paragraph two

 (2) of Plaintiffs’ Complaint.

       3.     Defendants admit that venue is proper in the United States District

 Court for the Southern District of Indiana.

       4.     Defendants deny the material allegations contained in paragraph four

 (4) of Plaintiffs’ Complaint.

       5, 6. The allegations contained in paragraphs five (5) and six (6) of Plaintiffs’

 Complaint are not directed to these Defendants and, therefore, no response is

 required. However, to the extent a responsive pleading is required, and to the

 extent the allegations contained in paragraphs five (5) and six (6) are directed to

 the City of Carmel and Carmel Police Officer Phil Hobson, they are specifically

 denied.

       7.     Defendants deny the material allegations contained in paragraph

 seven (7) of Plaintiffs’ Complaint.

       8.     The allegations contained in paragraph eight (8) of Plaintiffs’

 Complaint are not directed to these Defendants and, therefore, no response is

 required. However, to the extent a responsive pleading is required, and to the

 extent the allegations contained in paragraph eight (8) are directed to the City of

 Carmel and Carmel Police Officer Phil Hobson, they are specifically denied.

       9.     As to the material allegations contained in paragraph nine (9) of

 Plaintiffs’ Complaint, defendant denies that Officer Phil Hobson dresses in police

 uniform at all times.      Defendants admit any remaining material allegations

 contained therein.
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         10.   The allegations contained in paragraph ten (10) of Plaintiffs’

 Complaint are not directed to these Defendants and, therefore, no response is

 required. However, to the extent a responsive pleading is required, and to the

 extent the allegations contained in paragraph ten (10) are directed to the City of

 Carmel and Carmel Police Officer Phil Hobson, they are specifically denied.

         11.   Defendants deny that the City of Carmel is liable for the actions of its

 agents and employees—such calls for a legal conclusion. Defendants admit the

 remaining material allegations contained in paragraph eleven (11) of Plaintiffs’

 Complaint.

         12.   As to the material allegations contained in paragraph twelve (12) of

 Plaintiffs’ Complaint, Defendants admit the parentage, date of birth, date of death

 and age of Plaintiff. Defendants are without knowledge or information sufficient to

 form a belief as to the truth of any and all remaining material allegations contained

 therein and therefore deny the same.

         13-15. Defendants are without knowledge or information sufficient to form

 a belief as to the truth of the material allegations contained in paragraphs thirteen

 (13), fourteen (14), and fifteen (15) of Plaintiffs’ Complaint and therefore deny the

 same.

         16-19. Defendants deny the material allegations contained in paragraphs

 sixteen (16), seventeen (17), eighteen (18), and nineteen (19) of Plaintiffs’

 Complaint.

         20.   As to the material allegations contained in paragraph twenty (20) of

 Plaintiffs’ Complaint, Defendants deny that “Defendant Steele and/or Officer
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 Hobson went in and out of the room to confer and to psychologically intimidate,

 coerce and shame Patrick to go further than admitting he sent two inappropriate

 Snapchats”. Defendants are without knowledge or information sufficient to form

 a belief as to the truth of any and all remaining material allegations contained in

 therein and therefore deny the same.

         21-26. Defendants deny the material allegations contained in paragraphs

 twenty-one (21), twenty-two (22), twenty-three (23), twenty-four (24), twenty-five

 (25), and twenty-six (26) of Plaintiffs’ Complaint.

         27, 28. Defendants are without knowledge or information sufficient to form

 a belief as to the truth of the material allegations contained in paragraphs twenty-

 seven (27) and twenty-eight (28) of Plaintiffs’ Complaint and therefore deny the

 same.

         29-32. Defendants deny the material allegations contained in paragraphs

 twenty-nine (29), thirty (30), thirty-one (31), and thirty-two (32) of Plaintiffs’

 Complaint.

         33.   As to the material allegations contained in paragraph thirty-three (33)

 of Plaintiffs’ Complaint, Defendants admit that the police officer on the scene

 contacted Officer Hobson.        Defendants deny any and all remaining material

 allegations contained therein.

         34.   Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the material allegations contained in paragraph thirty-four

 (34) of Plaintiffs’ Complaint and therefore deny the same.


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                                 COUNT I
              PROCEDURAL DUE PROCESS VIOLATION 42 U.S.C. §1983

        35.     Defendants incorporate by reference their responses to paragraphs

 one (1) through thirty-four (34) of Plaintiffs’ Complaint as if set forth in their

 entirety.

        36. Defendants admit the material allegations contained in paragraph thirty-

 six (36) of Plaintiffs’ Complaint.

        37-43. Defendants deny the material allegations contained in paragraphs

 thirty-seven (37), thirty-eight (38), thirty-nine (39), forty (40), forty-one (41), forty-

 two (42), and forty-three (43) of Plaintiffs’ Complaint.

                               COUNT II
    VIOLATION OF SUBSTANTIVE DUE PROCESS RIGHTS 42 U.S.C. §1983

        44.     Defendants incorporate by reference their responses to paragraphs

 one (1) through forty-three (43) of Plaintiffs’ Complaint as if set forth in their

 entirety.

        45.     Defendants admit the material allegations contained in paragraph

 forty-five (45) of Plaintiffs’ Complaint.

        46-48. Defendants deny the material allegations contained in paragraphs

 forty-six (46), forty-seven (47), and forty-eight (48) of Plaintiffs’ Complaint.

        49.     Defendants deny the material allegations contained in paragraph

 forty-nine (49) of Plaintiffs’ Complaint.

        50-55. Defendants deny the material allegations contained in paragraphs

 fifty (50), fifty-one (51), fifty-two (52), fifty-three (53), fifty-four (54), and fifty-five

 (55) of Plaintiffs’ Complaint.
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                                    COUNT III
                          WILLFUL AND WANTON CONDUCT

       56.    Defendants incorporate by reference their responses to paragraphs

 one (1) through fifty-five (55) of Plaintiffs’ Complaint as if set forth in their entirety.

       57-59. Defendants deny the material allegations contained in paragraphs

 fifty-seven (57), fifty-eight (58), and fifty-nine (59) of Plaintiffs’ Complaint.

                                 COUNT IV
                     NEGLIGENCE/RECKLESSNESS/NEGLECT

       60.    Defendants incorporate by reference their responses to paragraphs

 one (1) through fifty-nine (59) of Plaintiffs’ Complaint as if set forth in their

 entirety.

       61-64. Defendants deny the material allegations contained in paragraphs

 sixty-one (61), sixty-two (62), sixty-three (63), and sixty-four (64) of Plaintiffs’

 Complaint.

                              COUNT V
               FOURTH AMENDMENT VIOLATION 42 U.S.C. §1983

       65.    Defendants incorporate by reference their responses to paragraphs

 one (1) through sixty-four (64) of Plaintiffs’ Complaint as if set forth in their

 entirety.

       66.    Defendants deny the material allegations contained in paragraph

 sixty-six (66) of Plaintiffs’ Complaint.

       67-70. Defendants deny the material allegations contained in paragraphs

 sixty-seven (67), sixty-eight (68), sixty (69), and seventy (70) of Plaintiffs’

 Complaint.

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                               COUNT VI
             INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       71.    Defendants incorporate by reference their responses to paragraphs

 one (1) through seventy (70) of Plaintiffs’ Complaint as if set forth in their

 entirety.

       72, 73. Defendants deny the material allegations contained in paragraphs

 seventy-two (72) and seventy-three (73) of Plaintiffs’ Complaint.

                               COUNT VII
              NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

       74.    Defendants incorporate by reference their responses to paragraphs

 one (1) through seventy (70) of Plaintiffs’ Complaint as if set forth in their

 entirety.

       75, 76. Defendants deny the material allegations contained in paragraphs

 seventy-five (75) and seventy-six (76) of Plaintiff’s Complaint.

                              COUNT VIII
         VIOLATION OF FIFTH AMENDMENT RIGHTS 42 U.S.C. §1983

       77.    Defendants incorporate by reference their responses to paragraphs

 one (1) through seventy-six (76) of Plaintiffs’ Complaint as if set forth in their

 entirety.

       78.    Defendants admit the material allegations contained in paragraph

 seventy-eight (78) of Plaintiffs’ Complaint.

       79-84. Defendants deny the material allegations contained in paragraphs

 seventy-nine (79), eighty (80), eight-one (81), eighty-two (82), eighty-three (83),

 and eighty-four (84) of Plaintiffs’ Complaint.

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       WHEREFORE, Defendants, City of Carmel and Carmel Police Officer Phil

 Hobson, pray for judgment in their favor, that Plaintiffs take nothing by way of

 their Complaint, for costs of this action, and for all other just and proper relief in

 the premises.

                              AFFIRMATIVE DEFENSES

       Defendants, City of Carmel and Carmel Police Officer Phil Hobson, by

 counsel, for their Affirmative Defenses to Plaintiffs’ Complaint, allege and say:

       1.     Plaintiffs have failed to state a claim for which relief can be granted.

       2.     Plaintiffs’ rights, privileges, and immunities secured under the

 Constitution or laws of the United States have not been violated by any alleged

 action or inaction of Defendants. Defendants at all times acted reasonably, without

 malice, and in good faith.

       3.     The purported action pursuant to 42 U.S.C. § 1983 as against these

 Defendants fails to state an actionable claim for relief because Defendants lacked

 personal involvement, and there is no liability in an action under § 1983 absent

 direct personal involvement in the facts giving rise to the action.

       4.     The Complaint fails to state an actionable claim for relief under 42

 U.S.C. § 1983 or Indiana law.

       5.     Plaintiffs were contributorily negligent, and such conduct bars

 Plaintiffs’ claims under Ind. Code § 34-13-3-1-, et seq.

       6.     Decedent was careless and negligent with regard to his own safety and

 well-being, which carelessness and negligence proximately caused and/or

 contributed to the injuries and/or damages of which Plaintiffs complain.
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       7.     Plaintiffs’ claims against Defendants are barred pursuant to Ind. Code

 § 34-13-3-1, et seq.

       8.     Plaintiffs failed to file a timely Notice of Tort Claim pursuant to Ind.

 Code § 34-13-3-1, et seq.

       9.     Defendants did not actually or proximately cause the Plaintiffs’

 damages and injuries, if any be found to exist.

       10.    Defendant Carmel Police Officer Phil Hobson is entitled to qualified

 immunity on Plaintiffs’ § 1983 claims, as his conduct did not constitute a

 constitutional deprivation under clearly established law.

       WHEREFORE, Defendants, City of Carmel and Carmel Police Officer Phil

 Hobson, pray for judgment in their favor, that Plaintiffs take nothing by way of

 their Complaint, for costs of this action, and for all other just and proper relief in

 the premises.



                             REQUEST FOR JURY TRIAL

       Pursuant to Fed. R. Civ. P. 38, Defendants, City of Carmel and Carmel Police

 Officer Phil Hobson, respectfully demand a trial by jury.



                                               Respectfully submitted,

                                               TRAVELERS STAFF COUNSEL INDIANA

                                        By:    /s/ Paul T. Belch
                                               Paul T. Belch, 18533-49



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                            CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document was filed electronically using
  the Case Management/Electronic Case Files (“CM/ECF”) system and served via
  the CM/ECF system upon registered counsel of record on December 6, 2018.


                                       By:    /s/ Paul T. Belch
                                              Paul T. Belch, 18533-49

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